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  (12) United States Patent                                              (10) Patent No.:                US 8,888,953 B2
         Teck                                                            (45) Date of Patent:                    Nov. 18, 2014
  (54) METHOD AND APPARATUS FOR DISPLAY                             (58) Field of Classification Search
         SCREEN SHIELD REPLACEMENT                                          USPC ......... 156/703,711, 717, 752, 756, 762, 924,
                                                                                                                               156/937
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  (73) Assignee: Saxum LLC, Sevierville, TN (US)                                    U.S. PATENT DOCUMENTS
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                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 0 days.                                                (Continued)
  (21) Appl. No.: 13/914,794                                                     FOREIGN PATENT DOCUMENTS
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  (22) Filed:         Jun. 11, 2013                                 EP               2381461          10, 2011
  (65)                   Prior Publication Data                                               (Continued)
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              Related U.S. Application Data                         International Search Report and Written Opinion for PCT Patent
                                                                    App. No. PCT/US 13/65394 (Apr. 16, 2014).
  (63) Continuation of application No. 13/790.212, filed on
         Mar. 8, 2013.                                                                    (Continued)
  (60) Provisional application No. 61/715,015, filed on Oct.        Primary Examiner — Mark A Osele
         17, 2012.                                                  (74) Attorney, Agent, or Firm — Cermak Nakajima &
                                                                    McGowan LLP. Adam J. Cermak
  (51) Int. Cl.
         B32B 38/It               (2006.01)                         (57)                     ABSTRACT
         B26D 3/28                (2006.01)                         A method and apparatus for replacement of damages display
         B26D 7/10                (2006.01)                         shield (typically glass) covering a display Screen on a device,
         B26F 3/00                (2006.01)                         typically a mobile phone. Mobile phones have an electronic
         B26D 7/08                (2006.01)                         display protected by a glass shield. Between the glass and the
         GO2F L/3                 (2006.01)                         display is often a plastic polarizing or other intermediary
  (52) U.S. Cl.                                                     sheet. Removal of a damage glass can be accomplished by
       CPC. B26D 3/28 (2013.01); B26D 7/10 (2013.01);               cutting thru the polarizer with a moving wire or blade. This
              B26F 3/004 (2013.01); B26D 7/08 (2013.01);            separates the glass from the sensitive display and allows
                   G02F 1/1309 (2013.01); Y10S 156/924              replacement of the glass without damaging the more expen
                       (2013.01); Y10S 156/937 (2013.01)            sive display.
         USPC ........... 156/703; 156/711; 156/717: 156/752;
                           156/756; 156/762; 156/924; 156/937                      28 Claims, 10 Drawing Sheets
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                                   1.                                                                   2
        METHOD AND APPARATUS FOR DISPLAY                                      In a further embodiment, the display unit may be fixed and
           SCREEN SHIELD REPLACEMENT                                        the wire may be moveable into the intermediate layer in a Y
                                                                            axial direction.
              CROSS-REFERENCE TO RELATED                                       In a further embodiment, the wire may be moving in an X
                     APPLICATION                                            axial direction while it is moving in a Y axial direction to
                                                                            increase the cutting speed.
     This application is a continuation of Ser. No. 13/790,212                 In a further embodiment, the wire may be heated to more
   filed on 8 Mar. 2013 which claims the benefit of U.S. Provi              rapidly cut or melt the intermediary layer.
   sional Application No. 61/715,015 filed 17 Oct. 2012, which                 In a further embodiment, the display unit may be moved
   hereby is incorporated herein by reference in its entirety.         10   collinearly along a plane as the wire penetrates the interme
                                                                            diate layer.
                          BACKGROUND                                           Inafurther embodiment, the display unit may remain fixed
                                                                            in a plan while the wire moves in a coplanar direction thru the
      1. Field of the Disclosure                                            intermediate layer.
      The present disclosure invention is directed to a method
                                                                       15      In a further embodiment, the wire may be replaced with a
                                                                            blade.
   and apparatus for replacement of displays shield/glass on                   In a further embodiment, the blade may reciprocate.
   devices such as mobile phones.                                              In a further embodiment, the blade may be heated to speed
      2. Description of the Related Art                                     passage thru the intermediary layer.
      The proliferation of devices with display screens, particu               Alternatively, the wire can be replaced by a laser beam
   larly Small mobile devices, such as Smartphones, means that              which cuts thru the intermediary layer.
   there are large numbers of expensive mobile devices subject                 Alternatively a high pressure waterjet can be used in place
   to harsh conditions. Typically, the most vulnerable portion of           of the wire to cut thru the intermediary layer.
   Such devices is the display screen which is often made of a                 Alternatively, the display unit may be heated, with the
   hardened glass such as Gorilla R. glass from Corning, Inc.          25   electronic display portion cooled and the intermediate layer
   Regardless of how strong the glass is made. Some of them will            can be melted and Suctioned away or the display portion and
   inevitably be broken, cracked or scratched to the point where            glass can we suctioned apart while the intermediary layer is
   the device is useless unless the glass is replaced.                      liquefied.
      The cost of glass replacement has been prohibitive relative              Alternatively, an acid may be applied to the unit which
   to the cost of the device, because even though expensive,           30   attacks the intermediary layer without affecting the electronic
   improvements on Such devices, limits the realistic investment            display portion and glass so that the layer is dissolved.
   on repair.                                                                  In the apparatus disclosure, a machine includes:
      The solution is to make the cost of repair/replacement of                a. rail mounting on a housing:
   the glass Sufficiently competitive to make it practical to repair           b. a moveable bed/jigslidable along the rail in a predeter
   rather than replace the device.                                     35         mined plane;
      The problem has been that most display screens are a                    c. a drive motor;
   composite of glass (upper layer), a bonding layer, which may                d. a pair of guide rollers on either side of the moveable bed;
   include a polarizer and then the electronic display compo                   e. a wire driven by said motor to travel from one guide
   nent. Separation of the broken/damaged glass from the dis                      roller to the other along a Y axis in said predetermined
   play unit without destroying the display component has been         40         plane;
   largely impossible. If the repair of the glass includes complete            fan adjuster for moving said guide roller and consequently
   replacement of the display unit, then entire task is typically                 said wire into said predetermined plane;
   cost prohibitive. Even warranty service by the manufacturer              whereby placing of a display unit consisting of a sandwich of
   is financially impaired by the cost of repair.                           an electronic display portion, an intermediate layer and a
      Thus a method and apparatus is needed which can effi             45   glass protective cover into said bed and collinearly aligning
   ciently replace the glass but not require replacement of the             said wire to be in the same plane as said intermediate layer, so
   electronic display unit.                                                 that moving the wire thru said plane will cause the electronic
      The present disclosure addresses both of these problems               display to separate from the glass cover by cutting through the
   with an innovative solution.                                             intermediate layer.
                                                                       50      In a further embodiment, the guide rollers have a recessed
           BRIEF SUMMARY OF THE INVENTION                                   waist portion for receiving and guiding the wire and wherein
                                                                            said waist is located in a plane below the plane of the inter
      The following Summary is intended to assist the reader in             mediate layer.
   understanding the full disclosure and the claims. The claims                In a further embodiment, the guide rollers have a recessed
   define the scope of the invention, not this Summary.                55   waist portion for receiving and guiding the wire and wherein
      The present disclosure includes a method and apparatus for            said waist is located in a plane above the plane of the inter
   replacing protective glass on a device having a display or the           mediate layer.
   display alone.                                                              In a further embodiment, the wire is heated electrically as
      In the method, a display unit having protective glass top             it moves in the X and y planes.
   Surface, electronic display device and an intermediate layer        60      In a further embodiment, the wire is heated electrically but
   therebetween is held in a bed/ig/carrier. A wire having a                does not move in the X plane, but only the Y plane into the
   thickness of less or equal to that of the intermediate layer is          intermediate layer.
   coplanar with said intermediary layer. Then the display unit                In a further embodiment, the wire is heated by external
   and wire are moved relative to each other so that the wire will          SOUCS.
   progressively penetrate the intermediate layer and separate         65      In a further embodiment, the wire is replaced by a planar
   the glass from the electronic display by cutting thru the inter          blade whose planar location is adjustable to match the plane
   mediate layer.                                                           in which the intermediate layer resides.
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      In a further embodiment, the blade reciprocates in said                  a. a housing:
   plane.                                                                      b. a carrier for holding the display unit, said carrier config
     In a further embodiment, the blade is heated to melt the                      ured to hold said unit without blocking access to said
   intermediary layer.                                                             intermediate layer,
     Inafurther embodiment, the blade is heated on one surface,                c. a slideable interface interposed between the housing and
   the Surface adjacent the glass, and cooled on the other Surface,                carrier for moving the carrier relative to the housing:
   the Surface adjacent the electronic display unit.                           d. a pair of first and second guides connected to said hous
      In a further embodiment, the blade is replaced by a laser                    ing and located on either side of the carrier;
   which is aligned to cut the intermediate layer.                             e. a cutting element configured to travel in a path from one
      In a further embodiment, the blade is replaced by a high         10          guide to the other in a third plane;
   pressure jet which cuts the intermediate layer.                             f, an adjuster for positioning said guide roller and conse
      In a further embodiment, the electronic display is cooled                    quently said cutting element between the first and Sec
                                                                                   ond planes,
   whilst the glass is heated thereby softening the intermediate            whereby said cutting element is aligned between said first and
   layer.                                                              15   second planes to cut through said intermediary layer and
      Also disclosed is a method of removing a protective glass             separate the glass from the electronic display element.
   top Surface from a display unit having a glass top, an elec                 Also disclosed is a machine wherein said guides are
   tronic display portion and an intermediate layer therebetween            located such that said third plan either above or below said
   comprising any or all of the following steps:                            first and second planes so that said cutting element is biased to
      a. fixing the display unit in a carriage with the intermediate        engage said intermediate layer at either said first or second
         layer being exposed on all sides;                                  plan respectively.
      b. aligning a cutting device in a coplanar relationship with             Also disclosed is a machine wherein said cutting element is
         the intermediate layer;                                            a wire.
      c. driving the cutting device into the intermediate layer               Also disclosed is a machine wherein said cutting element is
         while moving the cutting device and display unit are          25   a blade with a thickness less than the distance said first and
         moved relative to each other along an axis generally               second planes.
         orthogonal to the cutting device;                                     Also disclosed is a machine wherein said cutting element is
      d. advancing the cutting device into the intermediate layer           a wire and where the wire follows a path from a supply spool
         to separate the glass top from the electronic display              to the first guide, to the display unit, to the second guide and
         portion.                                                      30   to a take up spool.
      Also disclosed is a method wherein said cutting device is                Also disclosed is a machine wherein said wire is driven by
   moved while the carriage is stationary.                                  a motor and controller which creates reciprocal motion.
      Also disclosed is a method wherein the cutting device is                 Also disclosed is a machine wherein said cutting element is
   stationary while the carriage is moved.                                  heated by passing the wire adjacent a heater.
      Also disclosed is a method further including the step of         35      Also disclosed is a machine wherein said cutting element is
   moving the cutting device laterally to the direction of entry            heated by passing electricity through it.
   into the intermediate layer.                                                Also disclosed is a machine wherein said cutting element is
      Also disclosed is a method further including the step of              a fluid jet.
   heating the cutting device.                                                 Also disclosed is a machine wherein said cutting element
      Also disclosed is a method further including the step of         40   includes a solvent sprayer.
   applying solvent to the cutting device, said solvent capable of             Also disclosed is a machine wherein said cutting element
   softening the intermediate layer.                                        includes a laser cutter.
      Also disclosed is a method wherein said cutting device is a             Also disclosed is a machine wherein said cutting element is
   laser beam.                                                              stationary and said carrier is movable.
     Also disclosed is a method wherein said cutting device is a       45     Also disclosed is a machine wherein said cutting element is
   wire.                                                                    moveable and said carrier is stationary.
      Also disclosed is a method wherein said cutting device is a             Also disclosed is a machine wherein said cutting element
   flat blade of thickness less than the intermediate layer.                and carrier are both movable.
      Also disclosed is a method wherein said cutting device is               Also disclosed is a machine wherein said guides include a
   spray jet of cutting fluid.                                         50   shock absorber.
      Also disclosed is a method wherein said cutting device is               Also disclosed is a machine wherein said shock absorber
   heated by passing a current through it.                                  includes mounting said guides on a spring bias element.
      Also disclosed is a method further including the step of                Also disclosed is a machine wherein said Supply and take
   biasing the wire in the intermediate layer adjacent the elec             up spools are wound.
   tronic display portion and away from the glass, to minimize         55     Also disclosed is a machine wherein one of said spools is
   encounters with broken glass.                                            wound clockwise and the other counter-clockwise.
      Also disclosed is a method wherein said biasing step                     Also disclosed is a machine wherein said shaft is driven by
   includes locating wire guide posts in a plane below that of the          a motor and further including a Snag sensor to stop the motor
   electronic display portion so that the wire is biased against            if the wire hits an obstruction.
   that portion as it enters and exits the intermediate layer.         60     Also disclosed is a machine wherein the cutting element
      Also disclosed is a machine for removing protective cover             includes a source of heat to heat a leading edge of the element
   glass from a display unit having a cover glass, an electronic            on its exterior face.
   display portion and an intermediate layer sandwiched ther                  Also disclosed is a machine further including a cooling
   ebetween, said intermediate layer defining a first plane                 device placeable adjacent the electronic display portion on its
   between the layer and the glass and a second plane between          65   exterior face.
   the intermediate layer and the electronic display portion com              Also disclosed is a machine further including a heating
   prising:                                                                 device placeable adjacent the cover glass.
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     Also disclosed is a machine further including a cooling                   By interposing a wire or cutting blade of thickness equal to
   device placeable adjacent the electronic display portion and a           or less than that of layer 24, cutting or melting action of
   heating device placeable adjacent the cover glass.                       driving the wire or blade into the intermediate layer (or mov
     Also disclosed is a machine further including a pool of cold           ing the layer into the cutter will free the electronic display unit
   non-conductive liquid in which the electronic display portion       5    from the glass layer 26 without damage to the electronic
   is received.                                                             display).
                                                                               The preferred method of separating the electronic display
             BRIEF DESCRIPTION OF THE SEVERAL                               unit (the only expensive and valuable component) for reuse is
                  VIEWS OF THE DRAWINGS                                     to bias the wire or blade against/adjacent or close to the plane
                                                                       10   adjacent the electronic display, i.e. the Surface of the elec
        FIG. 1 illustrates a perspective view of a wire cutting             tronic display and maintaining cutting element in a coplanar
   machine.                                                                 relationship with that plane adjacent the electronic display.
        FIG. 2 illustrates a top plan view of the machine in FIG. 1.        This can be accomplished with a wire by keeping it taut and
        FIG. 3 illustrates a front view of the machine in FIG. 1.           aligning it carefully to maintain the coplanar relationship. A
      FIG. 4 illustrates a side plan view of FIG. 1.
                                                                       15   slight bias of the wire against the electronic display can be
                                                                            helpful in keeping it as far from the glass layer as possible to
      FIG. 5 is a view like FIG. 1 in exploded view.                        prevent encountering/snagging of the glass layer 26. Snag
      FIG. 6 is a view like FIG. 5 rotated 90 degrees.                      ging is a risk if the glass is broken, because shards may be
      FIG. 7 illustrates an end plan view of a display unit of three        driven into the intermediate layer. Fortunately, the interme
   layers with a portion of the cutting wire shown.                         diate layer, such as a polarizer, acts as a safety shield, much
      FIG. 8 is a front perspective view of an alternative embodi           like safety glass to prevent extreme intrusion of the glass into
   ment with a blade replacing the wire.                                    the electronic display layer.
      FIG.9 is a rear plan view of the embodiment shown in FIG.                As an alternative, the method can be practiced by aligning
   8.                                                                       the wire in the same plane as the intermediate layer 24 or in
      FIG. 10 is a font perspective view of a third embodiment of      25   any plane between the two interface planes Because the wire
   a cutting machine where the cutting is done in the longitudinal          may be thinner than layer 24, there could be multiple avail
   direction on the display unit.                                           able planes. The preferred plan is closest to the electronic
      FIG. 11 is a rear view of the subject of FIG. 10.                     display for reasons set forth above.
                                                                               The cutting action is accomplished by moving the display
                DETAILED DESCRIPTION OF THE                            30   unit 20 relative to the wire along an axis, indicated here as the
                        DISCLOSURE                                          Y axis as shown in FIG. 7. The y\Y axis is “into the page
                                                                            along the face of unit 20. This can be accomplished by mov
      The present description discloses a method and apparatus              ing the wire, the display unit or both toward each other. The
   for replacing damaged protective transparent covers on dis               mere pressure of the wire will push thru layer 24, but the
   plays. Typically Such covers are glass, but can be any trans        35   process is enhanced if wire 30 moves along the X axis as
   parent or even translucent material which is generally used to           shown. The movement can be continuous in either direction
   provide protection to the underlying electronic display por              or reciprocating, which is preferred. The wire will naturally
   tion, such as an LCD or Led or liquid crystal display or the             heat up as it moves thru the layer and the heat will help melt
   like. The term “glass” therefore should be interpreted broadly           the layer further accelerating the process.
   beyond conventional silica or quartz based protectors to any        40      To further increase the cutting action of the wire, the wire
   transparent or translucent material for protective purposes.             itself can be heated, either indirectly by a heating unit 61
        As shown in FIG. 7, a mobile device 20, such as a cell/             adjacent to the wire, or by running a current thru the wire.
   mobile phone generally use a sandwich structure of a first               Ni-chrome or other resistive wire is preferred but the wire
   “glass' protective layer 26, an intermediary layer 24, which             could be heated by magnetic induction, particularly if ferro
   can be a transparent tape adhesive, a liquid adhesive, a plastic    45   magnetic.
   polarizer layer or other bonding layer and then an electronic               To further increase cutting action, and limit the risk of
   display portion 22. Regardless of the nature of the interme              damage to the electronic display, a blade (and to a lesser
   diate layer, it has a particular thickness which can be utilized         degree a wire) can be cooled on the face which contacts the
   in the inventive concepts disclosed herein. The intermediate             electronic display and heated on the face which contacts the
   layer is bounded by upper and lower interface planes which          50   glass and on its leading/cutting edge. Heating and cooling
   are adjacent the electronic display portion and the glass layer          elements can be provided which apply an air or liquid jet of
   and distance between those planes is the thickness of the                appropriate temperature as the blade circulates or recipro
   layer. Upper and lower are terms which can be interchange                cates in an out of contact with layer 24.
   able because the glass layer can be on the top or bottom                    The wire or blade could also run through a pool or spray of
   depending on the configuration of the method or machine.            55   Solvent, (acid, base, alcohol, etc) which could assist in dis
   When assembled, this structure appears unitary and attempts              Solving layer 24.
   to pry the glass layer from the electronic display will almost              In addition, instead of a wire or blade, the cutting action
   certainly destroy the electronic display.                                could be achieved by a high pressure cutting fluid jet stream
      As shown in FIG. 5, and as will be explained herein, the use          from a precisely aligned nozzle. The fluid could include sol
   of a thin wire 30 interposed between layers 22 and 26, and          60   vents to dissolve layer 24.
   aligned in a coplanar relationship with the intermediate layer,             In addition, a precisely aligned laser beam could likewise
   preferably as close as possible to the plane adjacent the elec           be used to dissolve layer 24.
   tronic display portion 22. The wire, one of several possible                In addition, the layers could be separated by applying heat
   cutting elements, can be used to separate layers 22 and 26               to the sandwich unit 20 and suction to the glass 26 and
   without damage to layer 22. Damage to layers 24 and 26 is           65   electronic portion 22 and the layers would be separated. To
   unimportant because the glass will be replaced and the inter             minimize the risk of damage to the electronic unit, it could be
   mediate layer may be destroyed.                                          simultaneously cooled by a cold jet or immersion into a cold
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   non-conductive liquid while being held in the carrier. The                Sure abnormal movement (x, y or Z axis) of the spindle or
   glass layer can be made hotter than the electronic layer to               cutting element and stop the wire immediately upon detec
   facilitate melting or softening of the intermediate layer to              tion.
   enhance separability. This concept can also be combined with                 In the preferred embodiment, spindles 80/82 control the
   the wire, blade, laser and solvent methods mentioned above.               plane in which the cutting element will track (i.e. the position
      The method is also illustrated through the apparatus dis               of the cutting element relative to the intermediate layer it is
   closed in the various figures. FIGS. 1-4 illustrate a wire cut            cutting). The cutting element is preferably adjusted to be
   ting machine 50 with a display unit 20, portion of a mobile               close to the interface plane adjacent the electronic display
   phone, shown in place ready for glass removal. The display                unit. Also preferable is a slight bias of the wire downwardly
   unit is shown in the preferred orientation with the glass por        10   against the electronic display 22 or the bottom of the inter
   tion 26 facing up. The opposite arrangement is also possible.             mediate layer 24 achievable by locating the tracking band of
   The electronic display portion and intermediary layers are not            the spindles below that interface plane. If the display unit 20
   visible.                                                                  is inserted opposite of what is described above, i.e. with
      The display unit 20 is placed in a carrier/bed/ig/carrier 52           electronic display unit on top, then the wire should be biased
                                                                        15   slightly upwardly so the tracking band will be above the
   which is connected to the housing by a slideable interface                interface plane.
   which allows the carrier to move relative to the housing. As                 An alternative to the wire cutting embodiments above, an
   shown, one embodiment has an underside which has grooves                  alternative cutting element in the form of a planar blade is
   sized to receive engagement with a rail 54 to allow it to slide           shown in the blade cutting machine 250 in FIGS. 7-8. To the
   along a Y axis either by hand movement or electrical actua                extent the elements of the blade machine are similar to the
   tion. It is preferred if the carrier 52 grip the display unit             wire cutting machine, the parts are indentified by the same
   without occluding access/blocking the intermediate layer on               number increased by 200.
   any side. This is because the cutting element must slice thru                The display unit 20 is not shown in this embodiment but
   the entire intermediate layer without encountering obstacles              like in the wire cutter, is placed in a carrier/bed/jig? carriage
   and thus it must be exposed on all sides. Vacuum attachment          25   252 which may be moveable as in the wire machine on a rail
   from the underside of the display unit is one option. Alterna             254 or as shown, is fixed in position whilst the blade 260 is
   tively, a carrier 52 may use other releasable attachment sys              moved thru the display unit intermediate layer in the Y axis
   tems such VelcroR), or have a recess in the carrier sized to              direction. Blade 260 is shown as a narrow blade (ca. 5 mm)
   receive for the electronic display or glass portion. Grippers             but can also be a wide 1-20 mm or wider for greater rigidity.
   are also possible with side fingers spaced around the carrier to     30   The blade is shown aligned orthogonally to the display unit
   hold the unit and prevent movement. Hand movement of the                  but may be skewed for a diagonal cut as also expected for the
   carrier is preferred so that the user can feel if there is any            wire cutting machine above.
   obstruction/snag though an impact/snag sensor and electrical                 The drive train in this embodiment is also applicable to the
                                                                             wire cutter embodiment. A motor 322 has a drive shaft con
   drive (Such as shown in the later embodiments) is also pos           35   nected to a coupler324 which drives a shaft328 thru a bearing
   sible.                                                                    324 and aperture 326 in support block 330. Carriage 252 sits
      The cutting wire 60 is shown in various places along its               atop a support structure 332 which is moveable on rails or
   route. In the preferred embodiment, wire 60 is spooled onto               bearing (not shown). Shaft 328 may be threaded and drives
   bar 70 which have enlarged diameter portions 72, 74. One is               the movement of structure 332 as a screw drive (a fixed
   referred to as a source and the other as a take up spool but they    40   threaded plate receives the threaded shaft). Alternative drive
   may also be the same spool. In this embodiment, the Source                systems are possible as is manual operation.
   and take-up spool reverse direction so that the wire is moved                Blade 260 is preferably a thin planar blade of thickness less
   in reciprocating directions. Continuous loop wires are also               than that of the intermediate layer. Blade cutting is faster than
   possible so that direction need not be reversed. Bar 70 is                wire cutting but is not always useable if the glass is damaged
   supported on bearings and driven by a motor 76 which is              45   to the point that shards are driven too far into the intermediate
   actuated in one direction for a period of time until the spool is         layer. The blade can be straight or serrated and can be heated
   largely played out and then reversed.                                     to help melt the intermediate layer or may be heated on one
      Wire 60 then follows a path from the spools to the display             side and cooled on the other (the cooled side would be adja
   unit. Vertically adjustable spindles 80/82 guide the wire by              cent to the electronic display portion) and the leading edge
   virtue of their narrowed waist/tracking band and rising angu         50   may be heated.
   lar sidewalls, where the wire is tracked in at its narrowest                 The blade drive mechanism preferably includes a motor
   point. The height of the spindles is controlled by an adjust              400, a drive shaft (not visible) to a drive wheel 402, which
   ment mechanism 84/86 which include thumbscrew 88/90 for                   drives a shaft 403 to a belt 404, and then to a bearing and shaft
   Y axis (vertical) adjustment of each spool preferably inde                406. Shaft 403 is affixed to wheel 402 off axis and with a
   pendently. The spindles are shown along the same orthogonal          55   bearing to convert the rotary motion of the wheel to reciprocal
   axis with respect to the carrier but it is possible to have one of        motion of the shaft which is then transferred into reciprocal
   the spindles lead the other (i.e. be located off that axis). This         motion of the blade 260 on a second sliding carriage 410
   will result in a slight cross/diagonal cut action which may be            which rides on a rail 412 to move reciprocally in a X axis
   desirable.                                                                direction while moving into the intermediate layer in the Y
      To absorb any shocks caused by Snagging of the wire (i.e.         60   axis direction.
   encounters with hard objects), typically glass shards, the                   Though the preferred embodiment is motorized in the Y
   spindle adjustment mechanism is preferably mounted on a                   direction, it can also be operated manually with handle 420.
   bias element, in this case springs 92 (see FIGS. 5-6). A shock               Blade 260 is preferably aligned with the intermediate layer
   can occur if the wire encounters a glass fragment which has               at its midpoint or adjacent to the electronic display portion
   intruded into the intermediate layer in which case shock             65   without engaging its Surface. One option is to angle/tip the
   absorption could prevent cutting element breakage. In an                  leading edge of the blade slightly away from the electronic
   automated embodiment, a tension or position sensor can mea                display portion. This will further prevent engaging its surface.
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                                                                                                          10
   To minimize encounters with glass intrusions into the inter said carriage and closer to said electronic display portion than
   mediate layer, the blade can alternatively be angled slightly said glass, so that said wire is biased toward said display
   toward the electronic display.                                         portion.
       FIGS. 10 and 11 illustrate a version of the blade cutting             3. The method of claim 1 further including the step of
   machine (also applicable to the wire cutter) with the blade 5 applying solvent to the cutting device, said solvent capable of
   (shown Schematically as a wire) penetrating the intermediary softening the intermediate layer.
   layer from the longitudinal (longer) side of the display device           4. The method of claim 1 wherein said cutting device is a
   20. The blade 260 is held in a reciprocating assembly 502 wire.
   preferably on a track. Alternatively, a continuous blade. Such 10 5. The method of claim 1 wherein said cutting device is a
   as used in a band saw, could run continuously in one direction. flat blade of thickness less than the intermediate layer and
   Reciprocation can be manual or by a solenoid actuator 504. including the step of adjusting the leading edge of the cutting
   The transverse movement of the display unit in the carriage device so that it engaged more adjacent said electronic dis
   252 is facilitated by sliding mounts 506 which move along play than said glass.
   shaft 508. Manual or automated movement of the blade into 15              6. The method of claim 1 wherein said cutting device is
   the intermediate layer separates the broken glass. Of course,          spray jet of cutting fluid.
   it is also possible that the carriage be moveable in a direction          7. The method of claim 1 wherein said cutting device is
   transverse (or oblique) to the cutting blade/wire with the heated by passing a current through it.
   blade/wire being stationary.                                              8. A method of separating a protective glass top surface
       The machines preferably include at least one force sensor 20 from a display unit having a glass top, an electronic display
   to detect an encounter with glass shards or other impedi portion, and an intermediate layer therebetween, the method
   ments/intrusions. Upon Such an encounter the cutting action comprising the steps of
   can be stopped and the blade/wire withdrawn.                              fixing the display unit in a carriage with the intermediate
       As mentioned the cutting speed can be increased by heat                  layer being exposed on all sides;
   ing the blade, heating the intermediate layer, applying a sol- 25 aligning a cutting blade in a coplanar relationship with the
   vent to the blade while cutting or by other means to soften or               intermediate layer,
   dissolve the intermediate layer.                                          biasing  the cutting blade in the intermediate layer imme
       In place of the blade or wire, other cutting tools may be                diately  adjacent the electronic display portion and away
   substituted including but not limited to water/solvent jet cut               from  the  glass by locating the guide path of the blade
   ting, laser cutting etc.                                            30
       The disclosure also includes a computer controlled                       below   the  display;
   machine which a server, processor and memory which carry                  heating a side of the cutting blade facing away from said
   out the method as disclosed.                                                 electronic display portion, and cooling a side of the
       The description of the invention and its applications as set             cutting blade facing toward said electronic display por
   forth herein is illustrative and is not intended to limit the scope 35       tion;
   of the invention. Variations and modifications of the embodi              driving the cutting blade into the intermediate layer so that
   ments disclosed herein are possible and practical alternatives               the cutting blade and display unit are moved relative to
   to and equivalents of the various elements of the embodi                     each other along an axis generally orthogonal to the
   ments would be understood to those of ordinary skill in the art              cutting blade;
   upon study of this patent document. These and other varia- 40 advancing the cutting blade into the intermediate layer to
   tions and modifications of the embodiments disclosed herein                  separate the glass top from the electronic display por
   may be made without departing from the scope and spirit of                   tion.
   the invention.                                                            9. A machine for removing a protective cover glass from a
                                                                          display unit having a cover glass, an electronic display por
       The invention claimed is:                                       45 tion, and an intermediate layer sandwiched therebetween,
       1. A method of removing a protective glass top Surface said intermediate layer defining a first plane between the layer
   from a display unit having a glass top, an electronic display and the glass, a second plane between the intermediate layer
   portion, and an intermediate layer therebetween, the method and the electronic display portion, and an axis extending
   comprising the steps of the display unit defining an axis along and between said first and second planes, the machine
   extending along said intermediate layer:                            50 comprising:
       fixing the display unit in a carriage with the intermediate           a housing:
          layer being exposed on all sides;                                  a carrier for holding the display unit, said carrier config
       aligning a cutting device in a coplanar relationship with the            ured to hold said unit without blocking access to said
          intermediate layer,                                                   intermediate layer,
       biasing the cutting device in the intermediate layer adjacent 55
          the electronic display portion and away from the glass,            a slideable   interface interposed between the housing and
       driving the cutting device into the intermediate layer while             carrier for moving the carrier relative to the housing:
          moving the cutting device and display unit relative to             a pair of first and second guides connected to said housing
          each other along a diagonal direction relative to said                and located on either side of the carrier;
          display unit axis;                                           60 a cutting element configured to travel in a path from one
       advancing the cutting device into the intermediate layer to              guide to the other in a third plane, said guides are located
          separate the glass top from the electronic display por                below said second plane so that said cutting element is
          tion.                                                                 biased to engage said intermediate layer at second plane;
       2. The method of claim 1, wherein the cutting device is a             wherein said cutting element is aligned between said first
   flexible wire which travels from a first spool to a second spool 65          and second planes to diagonally cut through said inter
   and back and first and second guides located adjacent said                   mediary layer along said axis and separate the glass from
   carriage, and including the step of locating said guides below               the electronic display element.
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                                   11                                                                 12
      10. The machine of claim 9 further including an adjuster for       18. The machine of claim 9 wherein said cutting element is
   adjusting the position of said guides and consequently said a fluid jet.
   cutting element to apply greater or lesser bias force against         19. The machine of claim 9 wherein said cutting element
   said display portion.                                              includes a solvent sprayer.
      11. The machine of claim 9 wherein said cutting element is 5 20. The machine of claim 9 wherein said cutting element
   a wire.                                                            includes a laser cutter.
      12. The machine of claim 9, further comprising a supply           21. The machine of claim 9 wherein said cutting element is
   spool and a take up spool, wherein said cutting element com stationary        and said carrier is movable.
   prises a wire, and wherein the cutting element is configured so      22.  The machine of claim 9 wherein said cutting element is
   that the wire follows a path from the supply spool to the first 10 moveable and    said carrier is stationary.
   guide, to the display unit, to the second guide, and to the take
   up spool.                                                            23. The machine of claim 9 wherein said cutting element
      13. The machine of claim 12 wherein said wire is driven by and24.carrier
                                                                             The
                                                                                  are both movable.
                                                                                  machine   of claim 9 wherein said guides include a
   a motor and controller which creates reciprocal motion.
      14. The machine of claim 9 wherein said cutting element is 15 shock    absorber.
                                                                        25. The machine of claim 24 wherein said shock absorber
   a wire and wherein the wire is heated.
      15. The machine of claim 14 including a pair wire heaters mounted. a spring bias element on which said guides are
                                                                      includes
   located adjacent said display unit on both sides thereof, so
                                                                        26. The machine of claim 9 wherein the cutting element
   that the wire is heated before it cuts said intermediate layer includes
   regardless of which direction the wire is traveling.                        a source of heat to heat a leading edge of the element
                                                                    2O its exterior
      16. The machine of claim 14 further comprising a source of on27.       The
                                                                                      face.
                                                                                   machine   of claim 9 further including a heating
   electricity in communication with said cutting element, and
   wherein said cutting element is heated by passing electricity device placeable adjacent the cover glass.
   therethrough.                                                        28. The machine of claim 9 further including a pool of
      17. The machine of claim 14 further including a cooling 25 non-conductive
                                                                      portion is
                                                                                        cooling fluid in which the electronic display
                                                                                 received.
   device placeable adjacent the electronic display portion and a
   heating device placeable adjacent the cover glass.
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,888,953 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 13/914794
DATED                       : November 18, 2014
INVENTOR(S)                 : Teo Chong Teck
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         In the Claims

         Please cancel the original version of Claim 1, located in the issued Patent on column 9, lines 45-63,
         and replace with the new text below:
         1. A method of removing a protective glass top Surface from a display unit having a glass top, an
         electronic display portion, and an intermediate layer therebetween, the display unit defining an axis
         extending along said intermediate layer, the method comprising the steps of:
           fixing the display unit in a carriage with the intermediate layer being exposed on all sides;
           aligning a cutting device in a coplanar relationship with the intermediate layer;
           biasing the cutting device in the intermediate layer adjacent the electronic display portion and away
         from the glass,
           driving the cutting device into the intermediate layer while moving the cutting device and display
         unit relative to each other along a diagonal direction relative to said display unit axis;
           advancing the cutting device into the intermediate layer to separate the glass top from the electronic
         display portion.




                                                                                  Signed and Sealed this
                                                                           Twenty-ninth Day of September, 2015

                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                               Director of the United States Patent and Trademark Office
